Case 0:16-cv-62028-JAL Document 177-1 Entered on FLSD Docket 01/18/2018 Page 1 of 2




                     EXHIBIT 1
    Case 0:16-cv-62028-JAL Document 177-1 Entered on FLSD Docket 01/18/2018 Page 2 of 2



)URP                           -DLPH /HJJHWW MOHJJHWW#VWRUFKDPLQLFRP!
6HQW                           7KXUVGD\ -DQXDU\    30
7R                             0LFKDHO 1 .UHLW]HU
&F                             %LMDQ $PLQL /LWD %HWK :ULJKW $YHU\ 6DPHW
6XEMHFW                        'HHPHU 'DQD 'HSRVLWLRQ



DŝĐŚĂĞů͕

  Ɛ ǇŽƵ ůŝŬĞůǇ ƌĞĂůŝǌĞ͕ ǁĞ ĂƌĞ ĐƵƌƌĞŶƚůǇ ĞǆƉĞƌŝĞŶĐŝŶŐ Ă ďůŝǌǌĂƌĚ ŚĞƌĞ ŝŶ Ez͘ dŚĞ ƉůĂŶ ŝƐ ƚŽ ĨůǇ ĚŽǁŶ ƚŽ ƚůĂŶƚĂ Ăƚ ϳ Ɖ͘ŵ͘ ĨŽƌ
ƚŚĞ ĚĞƉŽƐŝƚŝŽŶ ƚŽŵŽƌƌŽǁ ŽĨ ĞĞŵĞƌ ĂŶĂ͕ ďƵƚ ƚŚĞ ĂŝƌƉŽƌƚƐ ĂƌĞ ďĂƐŝĐĂůůǇ ĐůŽƐĞĚ͘ /Ĩ ƚŚĞ ĨůŝŐŚƚ ůĞĂǀĞƐ ĂƐ ƐĐŚĞĚƵůĞĚ͕ ƚŚĞŶ
ŝƚ͛ůů ďĞ ĨŝŶĞ͘ /Ĩ ŶŽƚ͕ ǁĞ ǁŝůů ŶĞĞĚ ƚŽ ĂĚũŽƵƌŶ ƚŚŝƐ ĚĞƉŽƐŝƚŝŽŶ ĂŶĚ ǁĞ͛ůů ůĞƚ ƚŚĞ ŽƵƌƚ ŬŶŽǁ͘ / ƐƵŐŐĞƐƚ ǁĞ ĐĂůů ĞĞŵĞƌ ĂŶĂ
ƚŽŐĞƚŚĞƌ ĂŶĚ ĨŝŐƵƌĞ ŽƵƚ Ă ƚŝŵĞ ŶĞǆƚ ǁĞĞŬ ƚŚĂƚ ǁŽƌŬƐ ĨŽƌ ĞǀĞƌǇŽŶĞ͘

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Jaime B. Leggett

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